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                                                                                                          2023 Nov-10 PM 11:20
                                                                                                          U.S. DISTRICT COURT
                                                                                                              N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


 IN RE: BLUE CROSS BLUE SHIELD                        Master File No. 2:13-CV-20000-RDP
     ANTITRUST LITIGATION
          (MDL No. 2406)                              This document relates to Provider-
                                                      Track cases.

   DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE REGARDING
       ISSUES THAT REQUIRE RESOLUTION BEFORE REMAND

                 On October 19, 2023, the Court ordered interested parties to show cause

why the Court should not file a suggestion of remand with the Judicial Panel on Multi-

District Litigation (the “Panel”) for actions transferred to In re Blue Cross Blue Shield

Antitrust Litigation, MDL 2406 (the “MDL”), for centralized pretrial proceedings.

(Doc. 3075 at 7.)1 Observing that “the Subscriber track ended in a class settlement” and

that “[w]hat remains in this MDL is the Provider track litigation”, the Court queried

“whether the need for consolidated or coordinated pretrial proceedings has ended”. (Id.

at 1.) The Blues agree that the need for consolidated proceedings in the Provider track of

the MDL is near completion, but respectfully submit that the Court should address certain

motions—that are fully briefed and ready for decision across all cases—ahead of remand.

                 Specifically, the Blues respectfully submit that the Court should, prior to

suggesting remand, issue decisions on at least (i) Providers’ Motion for Class

Certification (Doc. 2604) (infra Section I); and, following the class certification decision,

(ii) the four pending motions for summary judgment not contingent on class certification

(Docs. 2749, 2750, 2758, 2784) (infra Section II). Each of these motions presents issues


      1
        References to Doc. __ are citations to the MDL Docket. References to JPML Doc. __ are citations
to the Panel Docket.
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common to the centralized cases and, therefore, was filed—and should be decided—in all

Provider-track cases. Consistent with the operative Eighth Amended Scheduling Order

(Doc. 2718), the Blues also respectfully request 60 days following the Court’s order on

class certification to assess whether that decision raises any additional grounds for

summary judgment that would be resolved most efficiently in the MDL ahead of remand.

(Infra Section III.) Once these items are complete, the Court should revisit whether it is

appropriate to suggest remand, as set forth below in the Blues’ proposed sequence of

events. (Infra Section IV.)

                                    PROCEDURAL HISTORY

                  This MDL was created in 2013, when the Panel consolidated for pretrial

purposes certain antitrust cases challenging Blue System rules. In doing so, the Panel

found that centralization would “eliminate duplicative discovery; prevent inconsistent

pretrial rulings, including with respect to class certification; and conserve the resources of

the parties, their counsel, and the judiciary”. (Doc. 1 at 3.) Ten years later—after

extensive proceedings before this Court, including a class settlement in the Subscriber-

track cases (see Doc. 3075 at 3–4)—twenty Provider-track cases remain in the MDL.2

These Provider-track cases, set forth in the attached Appendix A, fall into four categories:

(1) four putative class actions originally filed in Alabama (App’x. A entries 1–4);3 (2)

seven putative class actions originally filed in other district courts and transferred to the




      2
        Although not the subject of the Court’s order to show cause, there is one Subscriber-track opt-out
case still pending in the MDL: Hoover v. Blue Cross & Blue Shield Ass’n, No. 21-cv-23448 (S.D. Fla.)
(filed on September 27, 2021, and transferred to the MDL on February 14, 2022).
      3
        Of these cases, Conway v. Blue Cross & Blue Shield of Ala., No. 12-cv-2532 (N.D. Ala.), is the
prioritized proceeding. (Doc. 469 at 5.)



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MDL at various times between 2012 and 2019 (id. entries 5–11);4 (3) eight class actions

filed in various jurisdictions after certain Blue Plans moved to dismiss Providers’ claims

in Alabama for lack of personal jurisdiction (id. entries 12–19);5 and (4) one individual

action brought by an anesthesia provider in Michigan and transferred to the MDL earlier

this year (id. entry 20). Plaintiffs in each of these actions challenge the same Blue Rules,

and all but one (the Michigan complaint, entry 20) seek certification of either a

nationwide or Alabama statewide class of providers. See, e.g., Richmond SA Servs., Inc.

v. Blue Cross & Blue Shield of Ala., No. 4:16-cv-1140 (S.D. Tex.), Dkt. 1 ¶¶ 334–335

(nationwide); Caldwell v. Blue Cross & Blue Shield of Ala., No. 2:19-cv-565 (N.D. Ala.),

Dkt. 1 ¶¶ 1, 434–435 (Alabama).

                   In 2015, the Court issued a streamlining Order that prioritized the Conway

case (Doc. 469 at 4), but maintained a mechanism by which motions could be filed in all

centralized cases. Specifically, where a pleading was “intended to be applicable to all

actions” in the MDL, the Court directed it be labeled “‘This Document Relates to All

Cases’”.6 (See Doc. 6 at 2.) By contrast, “[w]hen a pleading is intended to apply to a

specific case, it shall be filed in that specific case and not on the master docket”. (Id.)




     4
         See JPML Docs. 145, 171, 310, 327, 354, 429.
      5
        Provider counsel has referred to these actions as “belt and suspenders” cases related to personal
jurisdiction only. (See Doc. 2925 at 1–3.) In the event Providers do not intend to pursue these actions
given the Court’s denial of all motions challenging personal jurisdiction (see Doc. 925), they can be
voluntarily dismissed rather than remanded.
      6
        The Court and parties also used “This Document Relates to Provider Track Cases” to designate that
the filing pertained to all provider cases only (as contrasted with the Subscriber Track).



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                 In 2020, Provider Plaintiffs filed a motion to certify a class of Alabama

providers. (Docs. 2604–05, 2642.)7 Between 2019 and 2021, the parties fully briefed

several related Daubert motions. (Docs. 2466, 2471, 2476, 2478, 2480, 2631–36, 2639,

2665–66, 2668, 2690–92, 2695, 2707–10.) The caption for the class certification motion

and each Daubert motion designates that “This document relates to all cases”

(Doc. 2604), as does the Court’s November 17, 2022 Order requesting supplemental

briefing on class certification. (Doc. 3006.)

                 There are also four fully briefed motions for summary judgment, filed in

2021, which bear the caption “This Document Relates To Provider Track Cases”: (i) the

Blues’ Motion for Summary Judgment on Providers’ Damages Claims as Time-Barred

and Speculative (“Statute of Limitations Motion”) (see Docs. 2761–62, 2798, 2823);

(ii) the Blues’ Motion for Summary Judgment on All Claims Advanced by Non-General

Acute Care Hospital Providers and Any Claims Based on Blue System Rules Other than

ESAs or BlueCard for Failure to Demonstrate Injury or Damages (“Injury and Damages

Motion”) (see Docs. 2750–51, 2797, 2819); (iii) the Providers’ Motion for Partial

Summary Judgment on the Blues’ Claim to Common-Law Trademark Rights (“Common

Law Trademark Motion”) (see Docs. 2749, 2800, 2821); and (iv) the Providers’ Motion

for Partial Summary Judgment on the Blues’ Single Entity Defense (“Single Entity

Motion”) (see Docs. 2748, 2801, 2820). Each of these four motions thus applies to all

cases centralized in the Provider Track of the MDL.




     7
      Provider Plaintiffs’ original motion for class certification filed on April 15, 2019 (Doc. 2416) was
administratively removed from the docket on February 13, 2020 (Doc. 2541), and was renewed on October
9, 2020 (Doc. 2604).



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               Provider Plaintiffs have already agreed that the motions for class

certification and summary judgment “address issues common to all Providers and

Defendants”. (Doc. 2925 at 2–3 (Provider Plaintiffs’ 2022 Submission on Remand).)

                                  LEGAL STANDARD

               For the convenience of the parties and to promote efficiency, the Panel is

authorized to consolidate cases involving common issues of fact for pre-trial proceedings.

See 28 U.S.C. § 1407(a). The Panel must remand consolidated cases to their transferor

jurisdictions “when, at the latest, th[e] pretrial proceedings have run their course”.

Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 34 (1998). Prior

to the conclusion of pretrial proceedings, the Panel retains discretion to remand and, in

exercising that discretion, places great weight on a transferee judge’s suggestion of

remand. See In re IBM Peripheral EDP Devices Antitrust Litig., 407 F. Supp. 254, 256

(J.P.M.L. 1976); see also JPML Doc. 157 at 16–17.

               Remand of an MDL “is appropriate when the discrete function performed

by the transferee court has been completed and when everything that remains to be done

is case-specific”. In re Chiquita Brands Int’l, Inc. Alien Tort Statute & S’holders

Derivative Litig., No. 08-1916-MD, 2019 WL 11499332, at *3 (S.D. Fla. Nov. 5, 2019)

(citations omitted) (holding “remand is not appropriate because common issues central to

the core claims of all Plaintiffs yet remain for determination”); see also In re

Bridgestone/Firestone, Inc., 128 F. Supp. 2d 1196, 1197 (S.D. Ind. 2001) (declining to

suggest remand where forthcoming motions might apply to all MDL cases). “In cases

where remand has been deemed appropriate prior to the conclusion of all pretrial

proceedings, there was no efficiency gain to be had by keeping the case before the

transferee court.” U.S. ex rel. Hockett v. Columbia/HCA Healthcare Corp., 498


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F. Supp. 2d 25, 38 (D.D.C. 2007) (citing In re Baseball Bat Antitrust Litig., 112

F. Supp. 2d 1175 (J.P.M.L. 2000)).

                                       ARGUMENT

I.       The Court Should Decide Providers’ Motion for Class Certification Prior to
         Remand, and Prior to Ruling on Motions for Summary Judgment.

               The Court has stated it intends to rule in the near-term on Providers’

Motion for Class Certification and related Daubert motions (Docs. 2604–05, 2642, 3025,

3039, 3045 (Class Certification Brs.); Docs. 2466, 2471, 2476, 2478, 2480, 2631–36,

2639, 2665–66, 2668, 2690–92, 2695, 2707–10 (Daubert Mots.).) (Doc. 3075 at 6.) The

Blues respectfully submit that the Court should do so prior to remand because the Court’s

ruling will impact all class actions in the MDL (see infra Section I.A), and should do so

before ruling on summary judgment to avoid the problem of one-way intervention (see

infra Section I.B).

         A.    The Court’s Ruling on Class Certification Is Relevant to All MDL
               Class Cases.

               The Court’s ruling on class certification will necessarily impact all of the

putative class cases in the MDL. The Panel has previously instructed that “[i]t is

desirable to have a single judge oversee the class action issues . . . to avoid duplicative

efforts and inconsistent rulings in this area”, especially when “most of the actions . . .

have been brought on behalf of similar or overlapping classes of” plaintiffs. In re Res.

Expl., Inc., Sec. Litig., 483 F. Supp. 817, 821 (J.P.M.L. 1980); see also In re Cuisinart

Food Processor Antitrust Litig., 506 F. Supp. 651, 655 (J.P.M.L. 1981) (emphasizing

“the need to have a single judge oversee the class action issues in these seven actions to

avoid duplicative efforts and inconsistent rulings in this area”). That is the case here,

where each of the class action complaints asserts either a nationwide class of providers


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(there are 17 such cases, App’x. A entries 2–3; 5–19) or a statewide class encompassing

the state of Alabama (there are 2 such cases, App’x. A entries 1, 4). In other words, 19 of

the 20 Provider-track cases assert a putative class definition that overlaps with the class

sought to be certified by Providers here (compare Doc. 2604 (renewed motion for class

certification) with e.g., Am. Surgical Assistants v. Blue Cross & Blue Shield of Ala.,

No. 4:16-cv-1146 (S.D. Tex.), Dkt. 1 ¶ 334)—meaning the Court’s decision on

Providers’ pending Motion for Class Certification will inevitably affect each.

               Indeed, in deciding Provider Plaintiffs’ Motion for Class Certification, the

Court almost certainly will address issues that apply across all Provider-track cases. For

example, the Court’s November 17, 2022 Order Regarding Additional Briefing indicated

the Court intends to address whether to define the market for healthcare financing as a

two-sided platform (as the Blues submit it should). (See Doc. 3006 at 2 (“[T]he

appropriate time to properly define the relevant market is now.”).) The Court may also

decide key questions regarding the need for Article III standing for each putative class

member in light of the Eleventh Circuit’s recent guidance on that issue. (See id. at 3

(“How does Drazen apply to this antitrust case, if at all?”).) The Court’s answers to those

questions will likely bear upon all Provider-track actions, including those involving

claims of non-Alabama providers. Similarly, many of the Blues’ arguments in opposition

to class certification apply equally to any putative class that may be asserted in this

litigation—for example, whether it is appropriate to lump together various types of

providers, with various degrees of bargaining power, and that operate in disparate

geographies. (Doc. 2605 at 31–35, 41–44.) As a result, it is most efficient for the Court

to resolve these issues in the context of the MDL. See In re Managed Care Litig., 246




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F. Supp. 2d 1363, 1364–65 (J.P.M.L. 2003) (holding it was appropriate for the court to

determine in MDL whether to approve class settlement in an individual action because

“the class settlement . . . , whether approved or not approved, may have collateral

consequences affecting the management of the [MDL] litigation as a whole” and “could

have a significant impact on the remaining MDL[] claims”); see also In re Taxable Mun.

Bond Sec. Litig., No. CIV. A. MDL-863, 1994 WL 518125, at *1 (E.D. La. Sept. 20,

1994) (declining to suggest remand because “the court is in the process of deciding

motions common to the core claims against all defendants, including the issue of class

certification and summary judgment motions”).8 Resolving these issues prior to remand

would also avoid potentially inconsistent pretrial rulings on class certification issues in

courts across the country. In fact, “prevent[ing] inconsistent” class certification rulings

was among the very benefits the Panel raised in its original consolidation order. Doc. 1 at

3 (“Centralization will . . . prevent inconsistent pretrial rulings, including with respect to

class certification.”).

         B.       Class Certification Should Precede Summary Judgment Under the
                  One-Way Intervention Rule.

                  Class certification should also be decided before the pending motions for

summary judgment, which (for the reasons explained below, infra Section II) should

likewise be decided prior to remand. Under the “‘one-way intervention’ rule . . . class


      8
        For these same reasons, efficiency may also be served by having remand await resolution of any
discretionary appeal pursuant to Federal Rule of Civil Procedure 23(f). Should the Eleventh Circuit agree
to hear such an appeal, its decision will be binding in five of the Provider-track cases (App’x entries 1–4,
11), and will serve as highly persuasive authority in remand jurisdictions outside this Circuit. This Court
may also be best positioned to determine the effect of any Eleventh Circuit decision on the consolidated
cases. See, e.g., In re Holiday Magic Sec. & Antitrust Litig., 384 F. Supp. 1403, 1405 (J.P.M.L. 1974)
(holding transferee court “is unquestionably in the best position to determine the effect” of an appeal);
accord In re: Tramadol Hydrochloride Extended-Release Capsule Pat. Litig., 672 F. Supp. 2d 1377, 1378
(J.P.M.L. 2010); In re Suess Pat. Infringement Litig., 384 F. Supp. at 1407 (noting benefits of consolidation
during appeal).



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certification should be adjudicated prior to summary judgment so that class members

cannot choose their membership in a class after a lawsuit is resolved on the merits.”9 In

re Univ. of Mia. Covid-19 Tuition & Fee Refund Litig., No. 20-22207-CIV, 2022 WL

18586131, at *1 (S.D. Fla. Nov. 21, 2022). “‘One-way intervention’ occurs when the

potential members of a class action are allowed to ‘await . . . final judgment on the merits

in order to determine whether participation [in the class] would be favorable to their

interests.’” London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1252 (11th Cir. 2003)

(quoting Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 547 (1974)) (declining to

address one-way intervention arguments because “we reverse the district court’s grant of

class certification on other grounds”). “Such ‘one-way intervention’ . . . is inherently

unfair to defendants.” Owens v. Hellmuth & Johnson, PLLC, 550 F. Supp. 2d 1060, 1070

(D. Minn. 2008).

                  For years now, the parties have agreed that the “one-way intervention

rule” counsels the Court to rule on class certification before resolving summary judgment

on the merits. (Doc. 2384 at 12–13; Doc. 2386 at 4–5 (“Plaintiffs are not requesting that

the Court rule on dispositive motions prior to class certification. Therefore, their

proposed schedule does not even implicate one-way intervention.”); Doc. 2452 at 3;

Doc. 2379 at 7 (“[A]ny decision on Plaintiffs’ dispositive motions [before deciding class



     9
       In a recent unpublished decision, the Eleventh Circuit declined to adopt a flat prohibition against
one-way intervention, but still directed that “district court[s] should rule on certification before summary
judgment whenever it’s ‘practicable’ to do so”. Sos v. State Farm Mut. Auto. Ins. Co., No. 21-11769, 2023
WL 5608014, at *16 (11th Cir. Aug. 30, 2023) (quoting Fed. R. Civ. P. 23(c)(1)(A)). Here, resolving
Providers’ Motion for Class Certification prior to summary judgment—and all such motions prior to
remand—is “practicable”, will serve the interests of judicial economy, and will allow all remaining actions
to “benefit from further coordinated proceedings as part of the MDL”. In re Bridgestone/Firestone, Inc.,
128 F. Supp. 2d at 1197. Thus, Sos supports following the one-way intervention rule in this case, and in
any event does not prevent it. See 11th Cir. R. 36-2 (“Unpublished opinions are not considered binding
precedent.”).



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certification] would be premature under the one-way intervention rule.”).) Consequently,

the Court should first decide Provider Plaintiffs’ Motion for Class Certification in the

context of the MDL, and only then decide the motions for summary judgment applicable

to all cases.10

II.        Efficiency Requires the Court To Decide the Pending Motions for Summary
           Judgment Filed in All Cases.

                  Each of the four pending motions for summary judgment (listed supra

at 4) presents certain issues common to the Provider-track cases. Resolving these

motions prior to remand promotes the purposes of the MDL, including efficiency,

conservation of resources, and prevention of inconsistent rulings.

                  Courts routinely recognize that it is proper to decide summary judgment

motions as part of consolidated pre-trial proceedings. See In re: Photochromic Lens

Antitrust Litig., No. 8:10-cv-2040, 2014 WL 12618105, at *2 (M.D. Fla. July 9, 2014)

(“The disposition of summary judgment motions is part of the ‘pretrial proceedings’ for

which a case is transferred.”) (citing In re Butterfield Pat. Infringement, 328 F. Supp. 513

(J.P.M.L. 1970)). That is particularly true where the summary judgment motions involve

issues common across cases. See, e.g., In re Taxable, 1994 WL 518125, at *1 (declining

to suggest remand before deciding summary judgment motions “common to the core

claims against all defendants”); Manual for Complex Litigation (Fourth) § 22.36 (2004)

(“If the summary judgment motions involve issues common to all the cases centralized


      10
        To the extent the Court were to certify any class of Alabama providers, the rule against one-way
intervention would also counsel toward deciding summary judgment after the opt-out period for the
certified class expires. See London, 340 F.3d at 1252–53 (“Rule 23(c)(2)’s requirement that, in opt-out
class actions, notice be given to all class members as soon as practicable was intended by Congress to
prevent one-way intervention.”). Because the Blues maintain that no class should be certified for all the
reasons set forth in our class certification briefing (Docs. 2605, 3039), we respectfully submit that the Court
need not address that issue here.



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before the MDL court, however, the transferee judge may be in the best position to

rule.”). Resolution of these motions prior to remand furthers the purposes of MDL

centralization, including promoting “the just and efficient conduct of this litigation” by

“prevent[ing] inconsistent pretrial rulings . . . and conserv[ing] the resources of the

parties, their counsel and the judiciary”. In re: EpiPen (Epinephrine Injection, USP)

Mktg., Sales Pracs. & Antitrust Litig., 268 F. Supp. 3d 1356, 1359 (J.P.M.L. 2017).

                  Here, each pending summary judgment motion addresses core legal issues

common to the MDL cases, and this Court is uniquely familiar with the pertinent record.

If not decided in the MDL, these issues will need to be addressed repeatedly—with the

risk that they are decided inconsistently—in the transferred cases following remand.

                  Providers’ Single Entity Motion (Doc. 2784). Providers’ Single Entity

Motion seeks to re-litigate an issue already addressed by this Court once in the context of

the MDL: this Court’s 2018 ruling that “there remain genuine issues of material fact as

to whether Defendants operate as a single entity as to the enforcement of the Blue

Marks”. (Doc. 2063 at 35.) Like the first motion on this issue, Providers’ Single Entity

Motion should be resolved prior to remand to avoid inconsistent rulings as a matter of

law on a key defense—namely, whether the Blues are capable of conspiring with respect

to governance of the Blue Marks, in violation of Section 1 of the Sherman Act. See, e.g.,

In re Photochromic, 2014 WL 12618105, at *2 (“[A] disposition of summary judgment

issues common to the plaintiffs in the transferee court decreases the possibility of

inconsistent rulings and conserves the resources of the courts and the parties.”).11


     11
        As set forth in Defendants’ opposition to the Single Entity Motion (Doc. 2801), Defendants
respectfully submit that the Court’s prior ruling was based on at least two erroneous conclusions: (1) that
Blue Plans could compete with each other nationwide in the absence of the challenged conduct, even if



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                  Providers’ Common Law Trademark Motion (Doc. 2749). Provider

Plaintiffs’ Common Law Trademark Motion seeks a ruling that the Blue Plans abandoned

their common law trademark rights long before federal registration or, in the alternative,

that only the St. Paul and Buffalo Plans ever acquired such common law rights. (See,

e.g., Doc. 2749 at 1.) The ruling Providers seek is not only contrary to this Court’s 2022

Standard of Review decision (see, e.g., Doc. 2933 at 9–10), but also would have

nationwide implications that go well beyond the streamlined action. The Court is also

already steeped in these critical trademark issues, making it uniquely suited to resolve

them for all cases prior to remand. See, e.g., U.S. ex rel. Hockett, 498 F. Supp. 2d at 38

(“This Court’s familiarity with the issues in this case . . . indicates that it would be much

more efficient to proceed to summary judgment motions in this [MDL] Court rather than

to ask the transferor court to play catch-up.”); see also In re Suess, 384 F. Supp. at 1407

(noting where court “has developed an expertise concerning the complicated subject

matter involved in this litigation, [it] is unquestionably in the best position to supervise

the pre-trial proceedings of all actions . . . toward their most just and expeditious

termination”).




some Plans wanted to do so (see Doc. 2063 at 34–35) (in fact, they could not because of the common law
trademark rights acquired by at least some Plans (see, e.g., Doc. 2933 at 9–10)); and (2) that there are
questions about “the validity and/or enforceability of the [federal Blue] Marks” (see Doc. 2063 at 34) (in
fact, the federal Blue Marks are valid and enforceable, and that is true even if Plaintiffs’ mistaken view of
the federal application history were correct (see Doc. 2801 at 15 n.8)). For these reasons, the Blues
respectfully submit that, upon consideration of Providers’ Single Entity Motion, the Court could and should
grant summary judgment in favor of Defendants on their single entity defense. See Palm Beach Golf Ctr.-
Boca, Inc. v. Sarris, 212 F. Supp. 3d 1286, 1291 (S.D. Fla. 2016) (“When a motion for summary judgment
is presented to the Court, it opens the entire record for consideration, and the Court may enter judgment in
favor of the non-moving party on any grounds apparent in the record, even where there is no formal cross-
motion.”) (citing Burton v. City of Belle Glade, 178 F.3d 1175, 1204 (11th Cir. 1999)). Such a ruling
would significantly streamline for the transferor courts the claims that could be pursued on remand.



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                 Defendants’ Statute of Limitations Motion (Doc. 2758). Defendants’

Statute of Limitations Motion seeks to preclude Providers’ damages claims as time-

barred and speculative. As explained in the briefing, Providers’ damages claims are

time-barred because their theory of harm centers around historical blocked entry, i.e.,

conduct that occurred decades before the Clayton Act’s four-year statute of limitations

period in this case; and Providers fail to identify any new conduct occurring during the

limitations period that caused the alleged damages Plaintiffs seek. (Doc. 2762 at 14–17.)

This theory of harm is identical across the Provider-track class action complaints.12 As a

result, resolving the Statute of Limitations Motion ahead of remand would make the

transferor actions more efficient, and a ruling in favor of Defendants on this motion

would drastically limit the claims that can be pursued. See, e.g., In re Ivy, 901 F.2d 7, 9

(2d Cir. 1990) (stating that “[c]onsistency as well as economy is . . . served” by a single

judge resolving an issue that “is easily capable of arising in hundreds or even thousands

of cases in district courts throughout the nation”).

                 Defendants’ Injury and Damages Motion (Doc. 2751). Defendants’

Injury and Damages Motion seeks a ruling that Provider Plaintiffs have failed to put

forward evidence of harm for non-general acute care hospital Plaintiffs or with respect to

any Blue Rule other than ESAs or BlueCard. (Doc. 2751 at 1.) Although this motion

specifically addresses Providers’ model of injury and damages as applied in Alabama, the

model itself is not so limited. Indeed, Providers’ model appears to apply to all cases in

the MDL. (See, e.g., Doc. 2454-6 (Haas-Wilson Report filed in all Provider cases)


     12
        Compare Conway v. Blue Cross & Blue Shield of Ala., No. 2:12-cv-2532-RDP (N.D. Ala.),
Dkt. 1 ¶¶ 65–69, 73–74 with The Surgical Ctr. for Excellence, LLLP v. Blue Cross & Blue Shield of Ala.,
No. 5:12-cv-388-MW-CJK (N.D. Fla.), Dkt. 1 ¶¶ 71–72, 79–80 (same).



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(referring to the Providers’ Consolidated Fourth Amended MDL Complaint and not the

individual complaint in the streamlined proceeding); Doc 2454-14 (Slottje Report filed in

all Provider cases).) It is therefore most efficient for the Court to resolve this motion

before remand, which avoids needless, piecemeal litigation around the country over the

same faulty model. See, e.g., In re Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. &

Prod. Liab. Litig., 226 F. Supp. 3d 557, 584 (D.S.C. 2017) (“[I]t is inefficient, costly, and

contrary to the purposes of the statute to suggest remand without ruling on summary

judgment. This Court is familiar with the science and issues present and can dispose of

the issues far more quickly and efficiently than dozens of courts spread across the

country.”), aff’d sub nom. In re Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. &

Prod. Liab. Litig. (No II) MDL 2502, 892 F.3d 624 (4th Cir. 2018).

               For all of these reasons, the Blues respectfully submit that efficiency

dictates that the Court resolve these summary judgment motions prior to remand.

III.   Efficiency May Counsel the Court To Address Additional Motions.

               To date, the Parties have limited their summary judgment motions to those

“not critically dependent on the outcome of class certification”. (Doc. 2767 (Order

Modifying Eighth Am. Scheduling Order).) This is because the Court’s Fifth Amended

Scheduling Order stated that “[a]fter issuing a decision on class certification, the court

will address dispositive motions that are dependent on the outcome of class certification”.

(Doc. 2443 at 3; see also Doc. 2392 at 3 (same).) Consistent with the Court’s prior

Order, the Blues respectfully request 60 days from the Court’s class certification ruling to

assess whether any additional motions (i.e., those dependent on the Court’s ruling) would

be most efficiently resolved in the MDL. (See Doc. 2757 (Defs.’ Notice of Other

Potential Mots.); see also Doc. 2458 (6/20/2019 Hr’g Tr.) at 8:14–24 (The Court:


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“[D]epending on what class is certified, it may or may not change significantly the

motion practice; but we can’t know that until we actually see what’s certified. . . . I can

see where what class gets certified perhaps, particularly on the provider side, may speak

to questions like demonstrable harm, the market definition that gets played out on a rule-

of-reason analysis, all sorts of things like that.”); In re W. States Wholesale Nat. Gas

Antitrust Litig., MDL No. 1566, 2015 WL 9973207, at *1 (J.P.M.L. Aug. 5, 2015)

(denying remand where defendants “inten[ded] to file dispositive motions on grounds not

previously raised”).) This additional period of time need not lead to any inefficiency; the

60 days can run immediately after the Court issues its decision on Providers’ Motion for

Class Certification, while the Court turns to considering the currently pending summary

judgment motions.

IV.    The Blues’ Proposed Sequence of Events Before Remand.

               Based on the above, the Blues respectfully submit that remand should

occur after the following sequence of events:

               1. The Court decides Providers’ Motion for Class Certification.

               2. No later than 60 days following the Court’s class certification ruling,

                   the parties identify, and seek a briefing schedule for, any further

                   dispositive motions contingent on that ruling.

               3. The Court decides the four currently pending summary judgment

                   motions.

               4. The Court and parties revisit whether there is anything further to do in

                   the context of the MDL (e.g., additional summary judgment motions

                   dependent on class certification; resolution of any appeal under

                   Rule 23(f)), and complete any such work.


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               5. The Court files a suggestion of remand with the Panel.

                                    CONCLUSION

               For the foregoing reasons, Defendants respectfully submit that, ahead of a

suggestion of remand, the Court address the remaining issues as set forth herein.



 Dated: November 10, 2023                        Respectfully submitted,

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                                      Appendix A: Provider-Track Cases in MDL No. 2406

Entry                                                 Case                                                Court      Alleged Class
                                                     Originally Filed in N.D. Ala.
 1.     Caldwell v. Blue Cross & Blue Shield of Ala., No. 2:19-cv-565-RDP (N.D. Ala.)                   N.D. Ala.      Alabama
 2.     Conway v. Blue Cross & Blue Shield of Ala., No. 2:12-cv-2532-RDP (N.D. Ala.)                    N.D. Ala.     Nationwide
 3.     Melson v. Blue Cross & Blue Shield of Ala., No. 3:13-cv-625-RDP (N.D. Ala.)                     N.D. Ala.     Nationwide
 4.     Reyes v. Blue Cross & Blue Shield of Ala., No. 2:21-cv-1235-RDP (N.D. Ala.)                     N.D. Ala.      Alabama
                                Originally Filed in Other Jurisdictions and Transferred to N.D. Ala.
 5.     Am. Surgical Assistants v. Blue Cross & Blue Shield of Ala., No. 4:16-cv-1146 (S.D. Tex.)       S.D. Tex.     Nationwide
 6.     Chiropractic Plus, P.C. v. Blue Cross & Blue Shield of Ala., No. 4:13-cv-234 (S.D. Tex.)        S.D. Tex.     Nationwide
        Hosp. Serv. Dist. 1 of Parish of E. Baton Rouge, La. v. Blue Cross & Blue Shield of Ala., No.
 7.                                                                                                      M.D. La.     Nationwide
        3:15-cv-523-BAJ-SCR (M.D. La.)
  8.    Houston Home Dialysis, LP v. Blue Cross & Blue Shield of Ala., No. 4:19-cv-3791 (S.D. Tex.)     S.D. Tex.     Nationwide
  9.    Quality Dialysis One, L.L.C., No. 4:15-cv-3491 (S.D. Tex.)                                      S.D. Tex.     Nationwide
 10.    Richmond SA Servs., Inc. v. Blue Cross & Blue Shield of Ala., No. 4:16-cv-1140 (S.D. Tex.)      S.D. Tex.     Nationwide
        The Surgical Ctr. for Excellence, LLLP v. Blue Cross & Blue Shield of Ala.,
 11.                                                                                                     N.D. Fla.    Nationwide
        No. 5:12-cv-388-MW-CJK (N.D. Fla.).
                           Filed in Other Jurisdictions in Connection with Personal Jurisdiction Briefing
 12.    Conway v. Blue Cross & Blue Shield of Ala., No. 2:15-cv-1349-DLR (D. Ariz.)                      D. Ariz.     Nationwide
 13.    Conway v. Blue Cross & Blue Shield of Ala., No. 5:15-cv-4905-DDC-KGS (D. Kan.)                    D. Kan.     Nationwide
 14.    Conway v. Blue Cross & Blue Shield of Ala., No. 3:15-cv-109-RRE-ARS (D.N.D.)                      D.N.D.      Nationwide
 15.    Conway v. Blue Cross & Blue Shield of Ala., No. 3:15-cv-2002-FAB (D.P.R.)                         D.P.R.      Nationwide
 16.    Conway v. Blue Cross & Blue Shield of Ala., No. 2:15-cv-140-SWS (D. Wyo.)                        D. Wyo       Nationwide
 17.    Conway v. Blue Cross & Blue Shield of Ala., No. 2:15-cv-3963-PBT (E.D. Pa.)                      E.D. Pa.     Nationwide
 18.    Conway v. Blue Cross & Blue Shield of Ala., No. 3:15-cv-519-WHB-JCG (S.D. Miss.)                S.D. Miss.    Nationwide
 19.    Conway v. Blue Cross & Blue Shield of Ala., No. 1:15-cv-5539-AT (S.D.N.Y.)                       S.D.N.Y.     Nationwide
                                                           Individual Action
        Anesthesia Assocs. of Ann Arbor PLLC v. Blue Cross Blue Shield of Mich., No. 2:20-cv-12916
 20.                                                                                                    E.D. Mich.       N/A
        (E.D. Mich.)
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                              CERTIFICATE OF SERVICE

               I hereby certify that on November 10, 2023, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

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